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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK

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    Gustavo Rosendo, individually
    and
    Gustavo Rosendo, on behalf of others similarly situated,                    1: 20 CV 4897 (DG)(PK)

                                                  Plaintiff,

                                v.

    Nevada Diner Inc. doing business as Georgia Diner,
    Judy Julius,
    and Dimitrios Kaloidis,

                                                   Defendants.

    ------------------------------------------------------------------------X

                            ORDER IN FLSA CASE:
           INITIAL PRETRIAL DISCOVERY AND MEDIATION SCHEDULE

       The Federal Rules of Civil Procedure require a pretrial schedule tailored to the
circumstances of each case. Fed. R. Civ. P. 16, 1. The following order implements that
requirement for cases based on the Fair Labor Standards Act (FLSA).

        The Rule 26(a)(l) provisions on initial disclosures are waived in this case. Instead, the
parties must utilize the following discovery protocol and comply with the following
deadlines and requirements:

       1. With forty (45) days after and Answer is filed, the parties must serve on each other
          (but not file) the following:

           Plaintiff must provide: 1

            (1) The documents in Plaintiff’s possession, custody, or control that pertain to the
                unpaid wages claimed in the Complaint.


1If there is more than one plaintiff or defendant, the singular reference to the Plaintiff or Defendant includes
the plural.
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      (2) A written submission that includes: (a) a description of the period of time
          Plaintiff worked for Defendant; (b) Plaintiff’s job title, description of job duties,
          and name of immediate supervisor; (c) an accounting of Plaintiff’s claim,
          including dates, regular hours worked, over-time hours worked, pay received
          versus pay claimed, and tips or other compensation; (d) whether Plaintiff is
          entitled to a prevailing wage, and if so, the rate; (e) the nature of the claim (e.g.,
          failed to pay any wages, failed to pay minimum wage, failed to pay overtime,
          required off-the-clock work, failed to pay tips, misclassified as exempt employee,
          failed to provide proper paystubs, failed to provide proper notices, failed to pay
          spread of hours).

      (3) If Plaintiff has brought a collective action, a written description of the class of
          employees that Plaintiff seeks to include in this action, and a brief description of
          the commonalities between Plaintiff and the proposed opt-ins. Plaintiff must
          also indicate whether an opt-in notice has been filed for every potential opt-in
          plaintiff who has identified himself or herself as a person who wishes to join this
          action.

      (4) A written description of all attorney's fees and costs incurred to date. With
          respect to attorney's fees, Plaintiff must provide the hourly rate(s) sought and the
          number of hours expended by each person who has billed time to this case.

     Defendant must provide:

      (1) The time sheets or other time records and payroll records in Defendant's
          possession, custody, or control that pertain to work Plaintiff performed during
          the period for which Plaintiff claims unpaid wages.

      (2) Any written statement of policy, workplace rules, or handbook setting out the
          policies and practices on compensating workers performing the relevant type of
          work.

      (3) To the extent the personal liability of any individual Defendant is disputed (e.g.,
          Defendant was not an owner or manager), provide documentary evidence to
          support this position.

      (4) To the extent Defendant contends that its finances should be considered in
          evaluating its settlement position, Defendant must produce financial
          documentation to Plaintiffs’ counsel, and that documentation must be treated as
          confidential.


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          (5) In collective actions, the exchange of documents and information set forth in
              Paragraph 1 will occur for the named Plaintiffs and for the opt-in Plaintiffs who
              join the action before a court-approved opt-in notice is issued. This document
              exchange will occur within 21 days after the opt-in notices are filed with the
              court.

      2. After the exchange of the documents and information required in Paragraph 1,
         counsel for the Plaintiff and the Defendant must meet and confer in a good-faith
         effort to settle all pending issues, including attorneys’ fees and costs. 2 The parties,
         including a representative of each corporate party with full authority, must, at a
         minimum, be available by telephone during the conference to consider and approve
         any settlement.

      3. Thirty (30) days after the documents and information required in paragraph 1 are
         exchanged, counsel must file a Joint Status Report Regarding Settlement that notifies
         the Court whether:

          (1) the parties have reached an agreement in principle to settle the case and will be
              submitting that agreement to the Court for review and approval, or

          (2) if the parties were unable to settle the matter on their own, the parties will
              participate in a formal mediation conference, in accordance with Local Civil Rule
              83.8, before an EDNY mediator or a private mediator of their choosing, and a
              proposed date for completion of mediation.


      4. Within 7 days after the completion of mediation, counsel must file a Joint Status
         Report Regarding Mediation and indicate whether:

         (1) the parties have reached an agreement in principle to settle the case and will be
             submitting that agreement to the Court for review and approval; or

         (2) the parties request a settlement conference before Judge Kuo (who, on the
             parties’ consent, will have the authority to approve the settlement as a "fair and
             reasonable resolution of a bona fide dispute" over FLSA issues, upon the joint
             submission of a motion for judicial approval that attaches a copy of the final
             settlement agreement); or


2In the case of an individual party who is not represented by counsel, the individual must comply with the
provisions of this Order.
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     (3) the parties agree that they have exhausted all early settlement efforts, have held
         the required Rule 26(f) conference, and are filing a Proposed Discovery Plan,
         using the attached form.

  5. Until the parties file the Proposed Discovery Plan, all discovery is STAYED except as
     provided in this Order.

  6. In the event no settlement is reached under these procedures, and this Court later
     grants a motion permitting notice to be sent to similarly situated individuals advising
     them of their right to opt-in, the limitations period for any person receiving notice
     will be tolled from the date of this Order until the parties file their Rule 26(f)
     Proposed Discovery Plan lifting the stay on these proceedings.

  7. If the parties settle at any time, including after discovery has commenced, they must
     immediately advise the Court and promptly submit a joint motion to approve the
     settlement.

  8. Due to the volume of cases brought under the FLSA, the Court expects strict
     adherence to these deadlines and requirements. Exceptions will be granted only for
     compelling reasons. Failure to comply is a violation of a court order and sanctionable
     on that basis.

  9. The parties may move to alter this schedule for good cause only after the parties
     confer, and by joint letter request filed via this Court's ECF system.


                                                 SO ORDERED:




                                                 Peggy Kuo
                                                 PEGGY KUO
                                                 United States Magistrate Judge

Dated: Brooklyn, New York
       January 12, 2021




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